
12 N.Y.2d 773 (1962)
Jewish Center of Mt. Vernon, Inc., Appellant,
v.
Mt. Eden Cemetery Association, Inc., Respondent; Cemetery Board of the State of New York, Intervenor-Respondent.
Court of Appeals of the State of New York.
Argued October 24, 1962.
Decided November 1, 1962.
Harry Lesser, Philip J. Lesser, Herbert W. Aronson and Henry L. Hecht for appellant.
Theodore N. Tarlau and Percival E. Jackson for respondent.
Louis J. Lefkowitz, Attorney-General (Herbert J. Wallenstein, Paxton Blair and Irving Galt of counsel), for intervenor-respondent.
Lawrence Kovalsky, Eli B. Levy and Gilbert Goldstein for United Hebrew Community of New York (Adath Israel of New York), amicus curiæ.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Judgment modified, without costs, so as to eliminate the provision dismissing the complaint and to provide that in lieu thereof, for the reasons stated in Lanza v. Wagner (11 N Y 2d 317, 334), the jural relationship between the parties be declared as set forth in the opinion of the Appellate Division. No opinion.
